Case 19-33545-sgj7 Doc 95 Filed 03/02/20            Entered 03/02/20 16:35:13        Page 1 of 13



                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                                          §
                                                §
HOACTZIN PARTNERS, L.P.                         §    CASE NO. 19-33545-sgj-11
                                                §
Debtor.                                         §    (Chapter 11)

  AMENDED NOTICE OF PERFECTION OF LIEN PURSUANT TO SECTION 546(b)

         Island Operating Company, Inc. (“Island Operating”) files this amended notice (the

“Amended Notice”) pursuant to 11 U.S.C. § 546(b) to perfect certain liens (the “Subject O&G

Liens”) against property of Hoactzin Partners, L.P. (the “Debtor”) as set forth in the Amended and

Supplemented Statement of Privilege and Notice of Lien on Oil/Gas Wells filed with Terrebonne

Parish in Louisiana on February 24, 2020, File #:1598868, as attached hereto as Exhibit A (the

“Lien Statement”).       This Amended Notice amends and supplements the original notice filed at

ECF 73.

         1.    Overview. Prior to the date of commencement of the Debtor’s bankruptcy case,

Island Operating furnished labor, services, material, equipment, and/or supplies under contract

with the Debtor for the development and production of Debtor’s oil and/or gas wells in the state

of Louisiana (the “Subject O&G Wells”) as set forth in the Lien Statement for which Island

Operating has not been paid.

         2.    Louisiana O&G Lien Claims. The principal indebtedness owed by the Debtor to

Island Operating on account of the labor, services, material, equipment, and/or supplies that are

the subject of the Lien Statement is an amount of $68,213.50, exclusive of interest, fees and costs.

La. Rev. Stat. 9:4862.

         3.    Property Interest Encumbered. The Subject O&G Liens attach to and encumber the

Debtor’s operating interests in the Subject O&G Wells together with related interests of the Debtor
Case 19-33545-sgj7 Doc 95 Filed 03/02/20               Entered 03/02/20 16:35:13         Page 2 of 13



in wells, buildings, tanks, leasehold pipelines, constructions and facilities on the well sites,

movables on the wells site used in operations, tracts of land, servitudes, drillings and other rigs

located at the wells site, hydrocarbons and any other property provided for in La. Rev. Stat. 9:4861,

et. seq. (the “Subject Property”).

        4.      Lien Perfection Notice. Island Operating may be required under applicable state

law to file suit or take other actions to (i) perfect, maintain or continue perfection of its oil and gas

liens or (ii) to foreclose its oil and gas liens. Island Operating hereby gives notice in lieu of

commencement of such actions to perfect, maintain or continue perfection of Island

Operating interest in the Subject Property pursuant to 11 U.S.C. § 546(b), including but not

limited to the filing of a lawsuit to enforce and/or foreclose the Subject O&G Liens, and the

service of notice on purchasers of production of hydrocarbons from the Subject Property.

        5.      Reservation of Rights. Island Operating reserves the right to supplement and/or

amend this Notice. Island Operating further reserves all rights under applicable law.



Dated: March 2, 2020.
                                                        DIAMOND McCARTHY LLP

                                                        /s/ Charles M. Rubio
                                                        Charles M. Rubio
                                                        TBA No. 24083768
                                                        crubio@diamondmccarthy.com
                                                        (713) 333-5127 Telephone
                                                        (713) 333-5195 Facsimile
                                                        909 Fannin, Suite 3700
                                                        Houston, TX 77010

                                                        COUNSEL FOR ISLAND
                                                        OPERATING COMPANY, INC.




                                                   2
Case 19-33545-sgj7 Doc 95 Filed 03/02/20           Entered 03/02/20 16:35:13      Page 3 of 13



                                CERTIFICATE OF SERVICE

        I hereby certify that on March 2, 2020, a true and correct copy of the foregoing document
was served upon all parties requesting notice and service of pleadings pursuant to the CM/ECF
electronic notification system.


                                                    /s/ Charles M. Rubio
                                                    Charles M. Rubio




                                               3
Case 19-33545-sgj7 Doc 95 Filed 03/02/20   Entered 03/02/20 16:35:13   Page 4 of 13



                                    Exhibit A

                             Amended Lien Statement
        Case 19-33545-sgj7 Doc 95 Filed 03/02/20 Entered 03/02/20 16:35:13                                        Page 5 of 13
                            Terrebonne Parish Recording Page
                                                     Theresa A. Robichaux
                                                         Clerk Of Court
                                                         P.O. Box 1569
                                                    Houma, LA 70361-1569
                                                         (985) 868-5660

  Received From :
    Attn: TAYLOR C GRANGER
    NEUNERPATE
    ONE PETROLEUM CENTER, SUITE 200
    1001 WEST PINHOOK RD
    LAFAYETTE, LA 70503

 First MORTGAGOR
 IHOACTZIN PARTNERS L P


 First MORTGAGEE
 [ISLAND OPERATING CO INC



  Index Type : MORTGAGES                                                      File # =1598868
  Type of Document: AMENDMENTS
                                                                              Book: 3132 Page: 314
  Recording Pages : 9

                                                  Recorded Information

I hereby certify that the attached document was filed for registry and recorded in the Clerk of Court's office for
Terrebonne Parish, Louisiana.

                                                                        ^tlMAm.<A .-^B^AAU^
                                                                  Clerk of Court


                                                                                 CLERK OF COURT
                                                                               THERESAA. ROBICHAUX
                                                                                    Parish ofTerrebonne
    On (Recorded Date): 02/24/2020                                    I certify that this is a true copy of the attached
                                                                          document that was filed for registry and
   At (Recorded Time): 10:39:04AM                                           Recorded 02/24/2020 at 10:39:04
                                                                          Recorded in Book 3132 Page 314
                                                                           ^ File Number 1598868

                                                                                          .^
                                                                 c.     J^<L^G              L,       A/D/^ G.) /y
                                                                   Dei^uty Clerk                            ZT
 Doc ID-014972900009




 Return To : Attn: TAYLOR C GRANGER
                NEUNERPATE
                ONE PETROLEUM CENTER, SUITE 200
                1001 WEST PINHOOK RD
                LAFAYETTE, LA 70503

                                     Do not Detach this Recording Page from Original Document
Case 19-33545-sgj7 Doc 95 Filed 03/02/20           Entered 03/02/20 16:35:13      Page 6 of 13




 STATE OF /.e3^/3///n /t
 PARISH/COUNTY OF MWU^L /^L
                                    f




                           AMENDED AND SUPPLEMENTED
                             STATEMENT OF PRIVILEGE
                        AND NOTICE OF LIEN ON OIL/GAS WELLS

        BEFORE ME^ the undersigned authority, a Notary Public in and for
                              »


Parish/County, State of 5 duly commissioned and qualified, personally came and


appeared Gregg Falgout who, being first duly sworn, did depose and say:

        THAT he is the President and CEO and authorized agent of Island Operating Company^


Inc., a Louisiana business corporation whose principal office address is 8550 United Plaza Blvd.^


Baton Rouge, Louisiana 70809 (hereinafter referred to as "Island59), and., as such, is personally

informed as to the matters contained herein, and is duly authorized to execute this Statement of


Privilege and Notice of Lien on Oil/Gas Wells on behalf of Island;

       THAT Island is in the business of providing equipment, supplies, transportation,


personnel, and/or other semces in connection with the drilling, exploration, production and


operation of oil and/or gas wells in the State of Louisiana;

       THAT in pursuit of this business, Island provided equipment, supplies, transportation,


personnel, and/or other services to Hoactzin Partners, L.P. ("Hoactzin"), which, upon mformation


and belief, is a Delaware partnership whose address according to the records of the Bureau of


Safety and Environmental Enforcement is 129 East 17 Street, New York, New York 10003, and


whose Principal Business Establishment in Louisiana as listed with the Louisiana Secretary of


State is 5615 Corporate Blvd., Ste. 400B, Baton Rouge, Louisiana 70808. Hoactzin's General


Partner as listed with the Louisiana Secretary of State is Dolphin Advisors (Hoactzin), LLC.

Island's equipment, supplies, transportation, personnel, and/or other services to Hoactzin were


provided firom July through November of 2019 in connection with the exploration, production, and


operation of the oil and/or gas wells operated by Hoactzin located in Ship Shoal surface Blocks


145 and 144 in the Gulf of Mexico adjacent to Terrebonne Parish, Louisiana as shown by the

records of the US Bureau of Safety and Environmental Enforcement


       THAT Island filed a Statement of Privilege and Notice of Lien on Oil/Gas Wells in the




                                            Page 1 of 3
Case 19-33545-sgj7 Doc 95 Filed 03/02/20             Entered 03/02/20 16:35:13       Page 7 of 13




 Mortgage Records ofTerrebonne Parish at File # 1596773, Book 3125, Page 534 (hereinafter


 referred to as the "Original Statement of Privilege95), on the properties described therein.


        THAT, Hoactzin has failed to pay to Island amounts due and owing under Island Invoices


 # 0285904, #0286167, # 0286485, # 0286787, and # 0287117, in addition to those invoices

 specified in the Original Statement of Privilege;

        THEREFORE, Island hereby files this Amended and Supplemented Statement of


 Privilege and Notice of Lien on Oil/Gas Well Parish made pursuant to the Outer Continental Shelf

 Lands Act, 43 U.S.C. 1333, etseq., and the Louisiana Oil Well Lien Act, La. R.S. 9:4861, etseq.,


 amending and supplementing the Original Statement of Privilege as follows:



      ® Entries of the "Wells" table of the Original Statement of Privilege are hereby amended
          and supplemented for Wells E-l and E-2 in B SEE Block SS 145 to add Invoices #
          0286167, # 0285904, and # 0286787 to the Island Invoices field for each such Well entry
          such and for Well # 1 in BSEE Block SS 144 to add Invoices # 0287117,# 0286485,#
          0285904,and #0286787 to the Island Invoices field for each such Well entry such that
          said "Wells" table on pages 2 of 3 of the Original Statement of Privilege reads as follows:


     API No.        Company         WeU Name/No.          BSEE Block            Island Invoices


  177114140501       Hoactzin             E-l               SS 145           0284174*,0284289*,
                     Partners,                                                0284499,0284638,
                       L.P.                                                  0284687,0284943*,
                                                                              0285464,0285592,
                                                                             0287600*,0286167,
                                                                            0285904*,0286787*
 177114141400        Hoactzin             E-2               SS 145          0284174*,0284289*,
                     Partners,                                               0284499,0284638,
                       L.P.                                                 0284687,0284943*,
                                                                              0285464,0285592,
                                                                             0287600*,0286167,
                                                                            0285904*,0286787*
 177114143701        Hoactzin             #1                SS 144          0284174*,0284289*,
                     Partners,                                               0284500,0284686,
                       L.P.                                                 0284943*,0285254,
                                                                            0285593,0287600*,
                                                                             0287117,0286485,
                                                                            0285904*,0286787*
[The "* " indicates invoices -which v^ere jointly billed to SS 144 and SS 145 and equally attributed


to SS 144 # 1 Well (50%) and SS 145 E-l & E-2 Wells (50%).]



     • The occurrence of "FORTY-ONE THOUSAND NINE HUNDRED DOLLARS AND
        22/100 CENTS ($41,900.22)" in the Original Statement of Privilege is hereby amended
        and revised to state "SIXTY-EIGHT THOUSAND TWO HUNDRED THIRTEEN
        DOLLARS AND 51/100 CENTS ($68,213.50)"; the occurrence of "TWENTY
         THOUSAND TWO HUNDRED FORTY-TWO DOLLARS AND 81/100 CENTS
         ($20,242.81)55 in the Original Statement of Privilege is hereby amended and revised to
         state "THIRTY-SEVEN THOUSAND ONE HUNDRED FIFTY-EIGHT DOLLARS
         AND 50/100 CENTS ($37,158.50)"; the occurrence of "TWENTY-ONE THOUSAND
         EIGHT HUNDRED SEVEN DOLLARS AND 0/100 CENTS ($21,807.00)" in the
         Original Statement of Privilege is hereby amended and revised to state "THIRTY-ONE
         THOUSAND FIFTY-FIVE DOLLARS AND ,100 CENTS ($31,055.00)"; and Invoices



                                            Page 2 of 3
Case 19-33545-sgj7 Doc 95 Filed 03/02/20              Entered 03/02/20 16:35:13      Page 8 of 13




          # 0285904, #0286167, # 0286485, # 0286787,and #0287117, attached hereto as Exhibit
          A, are hereby added to and incorporated into the Subject Invoices set forth in the Original
          Statement of Privilege (Exhibit A thereto), such that the first full paragraph after the
          "Wells" table on p. 2 of 3 of the Original Statement of Privilege reads as follows:


                   "THAT, Island provided such equipment, supplies, transportation,
                   personnel, and/or other semces to Hoactzin from July 1, 2019 through
                   November 7, 2019 for the total sum of SIXTY-EIGHT THOUSAND TWO
                   HUNDRED THIRTEEN DOLLARS AND 51/100 CENTS ($68,213.51),
                   payment on which Hoactzin is obligated to Island and remains due and
                   owing, as set forth in Island Invoices 0284174, 0284289, 0284499,
                   0284500, 0284638, 0284686, 0284687, 0284943, 0285254, 0285464,
                   0285592, 0285593, 0287600, 0285904, 0286167, 0286485, 0286787, and
                   0287117 which are listed in the above table and attached hereto and made a
                   part hereof as Exhibit 6CA" in globo ("the Subject Invoices"). The amounts
                   due and owing as set forth more fully in the Subject Invoices for the
                   provision of equipment, supplies, transportation^ personnel, and/or other
                   services for and/or under which this Statement of Privilege and Notice of
                   Lien on Oil/Gas Wells are secured as follows:
                     • The amount of THIRTY-SEVEN THOUSAND ONE HUNDRED
                          FIFTY-EIGHT DOLLARS AND 50/100 CENTS ($37,158.50) is
                          secured by the Property Subject to Privilege (as set forth more fully in
                          the following paragraph) as respects SS 144 # 1 Well under OCS
                          surface Lease G34831; and
                     • The amount of THIRTY-ONE THOUSAND FIFTY-FIVE
                        DOLLARS AND ,100 CENTS ($31,055.00) is secured by the
                        Property Subject to Privilege (as set forth more fully in the following
                          paragraph) as respects SS 145 E-l and E-2 Wells under OCS surface
                          LeaseG34831."


       Except to the extent modified herein, Island reiterates, ratifies, and confirms its Original
Statement of Privilege.



                                       By on of Operating €0,9 Inc..,




                                       Gregg Falgout
                                       President and CEO of Island Operating Co., Inc.



       SUBSCRIBED AND SWORN TO before me on this Ft—day ofFebmary 2020, in the

city of l-^ht^&fc^- _, State of JLo^i'S^A^ .




                                             "KAfE'BATtEYLABUE
                                             Notary Public - Louisiana
                                                 Lafayette Parish
                                                 Notary ID 82596




                                            Page 3 of 3
        Case 19-33545-sgj7 Doc 95 Filed 03/02/20 Entered 03/02/20 16:35:13                     Page 9 of 13
                                                                                                       Page 1 of 1
•"lfl.1                                    Invoice
   • Island Operating Company, Inc.
     P.O. BOX 61850
     LAFAYETTE. LA 70596
     (337) 233-9594
     FAX (337) 235-9657
                                                                        INVOICE NUMBER: 0285904
      PLEASE REMIT TO:                                                     INVOICE DATE: 9/25/2019
      ISLAND OPERATING CO., INC
      LOCK BOX
      P.O. BOX 27783
                                                                           CUSTOMER NO: 03-HOACTZI
      HOUSTON, TX 77227-7783
                                                                          CUSTOMER P.O.: Loop 39

 HOACTZIN PARTNERS, LP.                                                  SALES TAX CODE: LA
 PO BOX 16867
 FEKNANDINA BEACH, FL 32035


                                                                LOCATION: SS 145 E & SS 144 #1
 KELLI SMITH

           Description                                                Quantity       Price           Amount


         Operating Services" for the Month of September, 2019


H-L39 Operating Services MO                                              1.000     8,500.000         8,500.00 NT




                                                                             SUBTOTAL               8,500.00
                                                                             SALES TAX                 0.00

                                                                        INVOICE TOTAL              8,500.00
     Case 19-33545-sgj7 Doc 95 Filed 03/02/20   Entered 03/02/20 16:35:13   Page 10 of 13
'nif^                      .   Invoice                 page10f1
                  rating Company, Inc.
     P.O. BOX 61850
     LAFAYETTE. LA 70596
     (337) 233-9594
               235-9657
                                                           INVOICE NUMBER: 0286167
     PLEASE REMIT TO: INVOICE DATE: 9/30/2019
     ISLAND OPERATING CO., INC
     LOCK BOX
     PHOOU^N27K8377227.77S3 CUSTOMER NO: 03-HOACTZ,
                                                             CUSTOMER P.O.: Loop 39

 HOACTZIN PARTNERS, LP. SALES TAX CODE: LA
 PO BOX 16867
 FERNANDINA BEACH, FL 32035


 KELLI SMITH LOCATION: SS 145E

          Description Quantity Price Amount Tax


RB-39 Flight Time 9/23 EA 0.600 1,496.000 897.60 NT




                                                                SUBTOTAL 897.60
                                                               SALES TAX 0.00
                                                          INVOICE TOTAL 897.60
          Case 19-33545-sgj7 Doc 95 Filed 03/02/20   Entered 03/02/20 16:35:13    Page 11 of 13
                                                                                               Page 1 of 1
 •"€ci                                        Invoice
      'Island Operating Company, Inc.
         P.O. BOX 61850
         LAFAYETTE, LA 70596
         (337) 233-9594
         FAX (337) 235-9657
                                                               INVOICE NUMBER: 0286485
          PLEASE REMIT TO:                                         INVOICE DATE: 9/30/2019
          ISLAND OPERATING CO.. INC
          LOCK BOX
          P. 0. BOX 27783
                                                                   CUSTOMER NO: 03-HOACTZI
          HOUSTON, TX 77227-7783
                                                                  CUSTOMER P.O.s Loop 40

     HOACTZIN PARTNERS, LP.                                     SALES TAX CODE: LA
     PO BOX 16867
     FERNANDINA BEACH, FL 32035


                                                       LOCATION: SS 144
     KELLI SMITH

              Description                                     Quantity                      Amount       Tax


             MV Marc C 9/1-9/30
40           GOL# 36230 (Hourly)                      EA        31.000      156.250         4,843.75         NT
40           Fuel                                     EA       418.000        2.350           982.30         NT
40           Lube                                     EA         5.500       21.160           116.38         NT

40           Couvillionff 203228                      EA         1.000     1,331.460         1,331.46        NT




                                                                     SUBTOTAL              7,273.89
                                                                    SALES TAX                  0.00
                                                               INVOICE TOTAL               7,273.89
    Case 19-33545-sgj7 Doc 95 Filed 03/02/20 Entered 03/02/20 16:35:13                   Page 12 of 13
                                                                                                   Page 1 of 1
•"€:                                     Invoice
  island Operating Company, Inc.
     P.O. BOX 61850
     LAFAYETTE, LA 70596
     (337) 233-9594
     FAX (337) 235-9657
                                                                     INVOICE NUMBER: 0286787
        "PLEASE NOTE NEW REMn^rOADbRESy                                 INVOICE DATE: 10/25/2019
     ISLAND OPERATING CO., INC
     DEPT3998
     P. 0. BOX 123998                                                   CUSTOMER NO: 03-HOACTZI
     DALLAS, TX 75312-3998
                                                                       CUSTOMER P.O.: Loop 39

 HOACTZIN PARTNERS, LP.                                               SALES TAX CODE: LA
 PO BOX 16867
 FERNANDINA BEACH, FL 32035


                                                             LOCATION: SS 145 E & SS 144 #1
 KELLI SMITH

          Description                                              Quantity      Price           Amount Tax



         Operating Services for the Month of October, 2019


H-L39 Operating Services MO                                           1.000 8,500.000            8,500.00 NT




                                                                          SUBTOTAL              8,500.00
                                                                         SALES TAX                  0.00

                                                                    INVOICE TOTAL               8,500.00
     Case 19-33545-sgj7 Doc 95 Filed 03/02/20 Entered 03/02/20 16:35:13       Page 13 of 13
                                                                                       Page 1 of 1
•"€c/                                    Invoice
  Island Operating Company, Inc.
        P.O. BOX 61850
        LAFAYETTE, LA 70596
        (337) 233-9594
        FAX (337) 235-9657
                                                         INVOICE NUMBER: 0287117
           *%£ASE NOTE NEWREMlTiTG ADDRESS*                 INVOICE DATE: 10/31/2019
        ISLAND OPERATING CO., INC
        DEPT3998
        P.O. BOX 123998                                     CUSTOMER NO: 03-HOACTZI
        DALLAS, TX 75312-3998
                                                           CUSTOMER P.O.: Loop 39

  HOACTZIN PARTNERS, LP.                                  SALES TAX CODE: LA
  PO BOX 16867
  FERNANDINA BEACH, FL 32035


                                                 LOCATION: SS 144
  KELLI SMITH

              Description                              Quantity       Price          Amount


RB-39        Safeworx# 4039 10/1                EA        1.000 1,141.800            1,141.80 NT




                                                              SUBTOTAL              1,141.80
                                                             SALES TAX                  0.00

                                                         INVOICE TOTAL              1,141.80
